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                    6    Specially Appearing For Third Party
                         KING & SPALDING LLP
                    7

                    8                                   UNITED STATES DISTRICT COURT
                    9                             NORTHERN DISTRICT OF CALIFORNIA
                  10

                  11     WHATSAPP INC., a Delaware                   Case No. 4:19-cv-07123-PJH
                         corporation, and FACEBOOK, INC., a
                  12     Delaware corporation,                       KING & SPALDING LLP’S REQUEST
                                                                     FOR HEARING ON WHATSAPP’S
                  13                      Plaintiffs,                MOTION TO DISQUALIFY

                  14     v.                                          Courtroom:       3, Third Floor
                                                                     Judge:           Hon. Phyllis J. Hamilton
                  15     NSO GROUP TECHNOLOGIES
                         LIMITED and Q CYBER
                  16     TECHNOLOGIES LIMITED,

                  17                      Defendants.

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LONG & LEVIT LLP
465 CALIFORNIA STREET,                                                                   REQUEST FOR HEARING
      5TH FLOOR
    SAN FRANCISCO,                                                                            4:19-CV-07123-PJH
   CALIFORNIA 94104
                            Case 4:19-cv-07123-PJH Document 93 Filed 06/15/20 Page 2 of 2



                    1             KING & SPALDING hereby submits a Request for Hearing on WhatsApp’s Motion to

                    2    Disqualify (Docket 59-5): Prior to the Covid-19 public health emergency, King & Spalding

                    3    would have had an opportunity to address at hearing issues raised by WhatsApp in reply,

                    4    including whether CRPC Rule 1.10(a) (as opposed to 1.10(b) applies), whether CRPC Rule 1.9

                    5    supports a conclusive presumption, rather than a rebuttable presumption, and whether there is a

                    6    substantial relationship between the former representation and the current representation. Given

                    7    the drastic remedy WhatsApp seeks, King & Spalding respectfully requests a hearing (telephonic,

                    8    video or, in the event the court re-opens to the public, in person) on WhatsApp’s motion to

                    9    disqualify so that it may address these issues and any others of interest to the court.

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                         Dated: June 15, 2020.                               LONG & LEVIT LLP
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                                                                             By:      /s/ Jessica R. MacGregor
                  14                                                               JESSICA R. MACGREGOR
                                                                                   Specially Appearing For Third Party
                  15                                                               KING & SPALDING LLP
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                         4834-9611-8464, v. 1
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LONG & LEVIT LLP
                                                                                                     REQUEST FOR HEARING
465 CALIFORNIA STREET,
      5TH FLOOR                                                          -2-
    SAN FRANCISCO,                                                                                        4:19-CV-07123-PJH
   CALIFORNIA 94104
